17 F.3d 1429
    Guzman (Luis Antonio)v.Reeves (William B.), Turner (Alison), Sykes (Sam), Buttari(Gregg), Burley (Donald) McDonnell (Thomas), Acevedo (Juan),Trotman (Sam), Breitling (J.), Cruz (Carlos), Schuck (John),Ghee (Charles), Guest (Frank), Grier (John), Asbell(Samuel), Doe (John)
    NO. 93-5531
    United States Court of Appeals,Third Circuit.
    Jan 21, 1994
    
      Appeal From:  D.N.J.,
      Irenas, J.
    
    
      1
      AFFIRMED.
    
    